Case 2:25-cv-04807-CAS-MAA       Document 1     Filed 05/28/25    Page 1 of 31 Page ID
                                       #:1


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  6

  7                         UNITED STATES DISTRICT COURT
  8
                           CENTRAL DISTRICT OF CALIFORNIA

  9
       UNITED AFRICAN-ASIAN                    Case No:
 10    ABILITIES CLUB, ON BEHALF
 11    OF ITSELF AND ITS                       COMPLAINT
       MEMBERS; JAMES LEE, An
 12    Individual                              DISCRIMINATORY
 13                                            PRACTICES
                           Plaintiffs,         [US Fair Housing Act of 1988 [42
 14
                                               U.S.C. §§ 3600 et seq, §3604(c),
 15          v.                                §3604(f)(1-3), et seq.; CA
                                               Government Code 12925, 12927,
 16
       21107 AMIE OWNER LLC; AND               12955; CA Civil Code §§ 51, 52,
 17    DOES 1 THROUGH 10, Inclusive            54.3
 18
                           Defendants.         DEMAND FOR JURY TRIAL
 19

 20                                      INTRODUCTION
 21
      1.    Plaintiffs make the following allegations in this civil rights action:
 22                              JURISDICTION AND VENUE
 23   2.      The federal jurisdiction of this action is based on the 42 U.S.C. §§ 3601,
 24   3604 et. seq. - the U.S. Fair Housing Act Amendments of 1988 (Defendants’
 25   apartment property consist of four (4) or more residential units), and 42 U.S.C. §
 26
      12101 et. seq., the federal Americans With Disabilities Act. Venue is proper in this
 27
      United States District Court for the Central District of California pursuant to 28
 28

                       1
                                                                                     COMPLAINT
                                                                                        CASE #
Case 2:25-cv-04807-CAS-MAA       Document 1      Filed 05/28/25   Page 2 of 31 Page ID
                                       #:2


  1
      U.S.C. § 1391(b), because a substantial part of Plaintiffs’ claims arose within said
  2
      Judicial District.
  3
                               SUPPLEMENTAL JURISDICTION
  4
      3.      This United States District Court for the Central District of California has
  5
      supplemental jurisdiction over the California state claims as alleged in this
  6
      Complaint pursuant to 28 U.S.C. § 1367(a).
  7
                     NAMED DEFENDANTS AND NAMED PLAINTIFFS
  8
      4.     The term Plaintiffs as used herein specifically include the corporate Plaintiff
  9
      entity known as the United African-Asian Abilities Club, On Behalf Of Itself And Its
 10
      Members (hereinafter referred to as “Club” or “UAAAC”); and the individual
 11
      Plaintiff JAMES LEE (hereinafter referred to as “LEE” or the “named Individual
 12
      Plaintiff”. The Plaintiff Club and Plaintiff LEE are sometimes collectively referred
 13
      to as the “named Plaintiffs” or “Plaintiffs”.
 14
      5.     Plaintiff United African-Asian Abilities Club (UAAAC) is registered and in
 15
      good standing as a Nevada corporation. The named individual Plaintiff LEE is a
 16
      member of the Plaintiff Club organization.
 17
      6.   Plaintiffs are informed, believe, and thereon allege that named Defendant 21107
 18
      AMIE OWNER LLC is the operator of the apartment rental business known as
 19
      21107 Amie Avenue Apartments located at 21107 Amie Avenue Torrance, CA
 20
      90503. Plaintiffs are informed, believe, and thereon allege that Defendant 21107
 21
      AMIE OWNER LLC, is the owner, operator, and/or lessor of the real property
 22

 23
      located at 21107 Amie Avenue Torrance, CA 90503 (hereinafter referred to as the

 24
      “Property”).

 25
      7.     Defendant 21107 AMIE OWNER LLC, is, and at all times mentioned herein

 26
      were, a business or corporation or franchise, organized and existing and/or doing

 27
      business under the laws of the State of California. Defendants Does 1 through 10,

 28

                           2
                                                                                 COMPLAINT
                                                                                    CASE #
Case 2:25-cv-04807-CAS-MAA        Document 1     Filed 05/28/25   Page 3 of 31 Page ID
                                        #:3


  1
      were at all times relevant herein subsidiaries, employers, employees, and/or agents of
  2
      the named Defendants.
  3
                                   CONCISE SET OF FACTS
  4
      8.    The named Individual Plaintiff Lee has hip and knee conditions, uses a device
  5
      for mobility, is unable to walk any distance, and also has a vision disability. Plaintiff
  6
      Lee is also a member of the Plaintiff Club. The individual Plaintiff Lee had specific
  7
      dates wherein he intended to go the Defendant’s Property to access Defendants’
  8
      rental services. Plaintiff Lee has actual knowledge of the overt and obvious physical
  9
      and communication barriers at Defendants’ Property. Plaintiff Lee determined that
 10
      the open and obvious physical barriers that exist at Defendants’ Property directly
 11
      related to his disabilities, and that it would be impossible or extremely difficult for
 12
      him to physically access Defendants’ on-site rental services. See ¶¶ 25. Plaintiff
 13
      Lee had knowledge of access barriers at the Property and determined that it would be
 14
      futile gesture for him to go to the Property on the date that he had intended. The
 15
      named Individual Plaintiff Lee was deterred by his actual knowledge of the physical
 16
      and communication barriers that exist at Defendants’ Property and also Defendants’
 17
      website communication barriers. As used herein, website means any internet website
 18
      where Defendants control the content. Exhibit B states the websites controlled by
 19

 20
      Defendants. Plaintiff Lee also attempted to access Defendants’ rental services on

 21
      Defendants websites but experienced great difficulty due to Defendants’ failure to

 22
      provide accessible website features.

 23
      9. The named Individual Plaintiff Lee attempted to use Defendants’ website to

 24
      access Defendants’ online rental services, but had great difficulty due to his

 25
      disabilities. The named Individual Plaintiff Lee also could not determine from

 26   Defendants’ website content whether Defendants’ rental services at the property or
 27   off the property, and common areas at the property were physically accessible to
 28

                       3
                                                                                  COMPLAINT
                                                                                     CASE #
Case 2:25-cv-04807-CAS-MAA       Document 1      Filed 05/28/25   Page 4 of 31 Page ID
                                       #:4


  1
      him. The named Individual Plaintiff Lee requested that Plaintiff Club assist him to
  2
      obtain information regarding the physical accessibility of Defendants’ rental services
  3
      at the property and off-site. In response to the named Individual Plaintiff’s request,
  4
      Plaintiff Club sent one of its members to Defendants’ property. The named
  5
      Individual Plaintiff personally reviewed all the information and photographs of
  6
      Defendants’ property. As a result, the named Individual Plaintiff has actual
  7
      knowledge of the overt and obvious physical and communication barriers to
  8
      Defendants rental service at Defendants’ Property. The named Individual Plaintiff
  9
      determined that the open and obvious physical barriers that exist at Defendants’
 10
      Property directly related to his disabilities, and that it would be impossible or
 11
      extremely difficult for him to physically access Defendants’ on-site rental services.
 12
      See ¶¶ 25. The named Individual Plaintiff Lee had actual knowledge and determined
 13
      that it would be futile gesture for him to go to the Property on the date that he had
 14
      intended. The named Individual Plaintiff was deterred by his actual knowledge of
 15
      the physical and communication barriers that exist at Defendants’ Property and
 16
      website. The named Individual Plaintiff made a written request to Defendants’ for
 17

 18
      an accommodation to have equal access to Defendants’ rental services and to

 19
      eliminate the communication and physical barriers to Defendants’ rental services,

 20
      both online and at the property. At the end of this action, the named Individual

 21
      Plaintiff Lee intends to return to Defendants’ website and Defendants’ property to

 22
      obtain rental information and verify that the communication and physical barriers to

 23
      Defendants’ rental services are removed.

 24
      10.   The named Plaintiff Club is an organization that advocates on the behalf of its

 25
      members with disabilities when their civil rights and liberties have been violated.

 26
      Plaintiff Club and Plaintiff Lee investigated Defendants’ websites and apartment

 27
      Property in April, 2025, and in May, 2025. The named Plaintiffs investigated

 28

                       4
                                                                                  COMPLAINT
                                                                                     CASE #
Case 2:25-cv-04807-CAS-MAA       Document 1      Filed 05/28/25   Page 5 of 31 Page ID
                                       #:5


  1
      Defendants apartment property and Defendants websites. Plaintiff Club member
  2
      Sharon Riguer investigated the Property on the Internet websites. Additional
  3
      Plaintiff Club members investigated Defendants websites and found that they did not
  4
      provide equal access. The results of the research from Club Member Sharon Riguer
  5
      are contained in the Exhibit B to this Complaint. Club members ascertained that
  6
      Defendants’ rental services at Defendants Property were not physically accessible to
  7
      Plaintiff Lee by a Club member with a disability who went to Defendants’ apartment
  8
      Property, and said Club member attempted to access Defendants’ on-site rental
  9
      services.
 10
      11.   Plaintiff Club diverted its time and resources from its normal purposes
 11
      because of Defendants’ service, policy, program and physical barriers to Defendants
 12
      rental services at Defendants’ websites and Property. Club personnel conducted
 13
      detailed Internet searches to determine if Defendants provide large print, deaf
 14
      interpreter, therapy animal, the required reasonable accommodation policy, and
 15
      required reasonable modification policy.    Further, the Club retained contractors to
 16
      investigate said policies, to survey the property, to photograph the property, to
 17
      investigate when the Property was constructed, to investigate the Property ownership
 18
      and to have an access report prepared. Plaintiff Club also diverted staff to
 19
      investigate Defendants' Internet presence to determine compliance with the FHA and
 20
      ADA. Plaintiff Club also investigated Defendants' written rental materials such as
 21
      brochures, rental applications and leases. Moreover, Plaintiff Club made an oral
 22

 23
      investigation to ascertain Defendants' companion animal, deaf interpreter and

 24
      reasonable accommodation and reasonable modification policies. Plaintiff Club also

 25
      caused a physical access consultant to be retained to survey Defendants' facility.

 26
      Plaintiff Club’s findings regarding Defendants’ rental services and facilities were

 27
      incorporated into an Access Report. The Access Report also details the known overt

 28

                       5
                                                                                 COMPLAINT
                                                                                    CASE #
Case 2:25-cv-04807-CAS-MAA       Document 1      Filed 05/28/25     Page 6 of 31 Page ID
                                       #:6


  1
      and obvious physical access violations at the Property, but it is not intended as an
  2
      exhaustive list of existing violations. Due to these necessary activities to investigate,
  3
      Plaintiff Club’s time and resources were diverted from its normal activity. Plaintiff
  4
      Club suffered injury and also suffered monetary damages due to the diversion of the
  5
      Club’s resources from its normal purposes.
  6
      12.   Plaintiffs allege that Defendants control, operate, and maintain web pages at
  7
      different apartment websites where Defendants offer its rental services.
  8
      Additionally, Defendants provide rental services located at the Property.
  9
      13.   Plaintiffs allege that Defendants’ websites have a close nexus to Defendants’
 10
      physical site rental services because the websites refer to Defendants’ rental services
 11
      that are offered at Defendants’ property as well as elsewhere off the site. Therefore,
 12
      Plaintiffs allege that the websites are also places of public accommodation.
 13
      Defendants control the websites to the extent that Defendants can change the website
 14
      content to make modifications to comply with the FHA and ADA. Therefore,
 15
      Plaintiffs allege that Defendants can modify the content of Defendants’ websites to
 16
      improve access for Plaintiffs and people with disabilities.
 17
      14.   In this case, the named Plaintiffs allege that the Defendants failed to provide a
 18
      TTY number or the text messaging system for Plaintiffs and other people that are
 19
      deaf or people with speech conditions. Plaintiff Club members have a speech
 20
      disability. Moreover, Plaintiff Club alleges that the Defendants did not modify their
 21
      websites to eliminate non-readable text to allow the blind and people with low vision
 22

 23
      to use the screen reader software to access the information on the website, yet they

 24
      also failed to use large print on their websites. See Exhibit B to this Complaint.

 25
      Plaintiffs assert that most popular screen reader programs are called Jobs Access

 26
      With Speech or “JAWS” and Apple’s VoiceOver Software. Defendants actions

 27
      discriminate against Plaintiff Club, specifically Club members who have low vision

 28

                       6
                                                                                  COMPLAINT
                                                                                     CASE #
Case 2:25-cv-04807-CAS-MAA       Document 1     Filed 05/28/25   Page 7 of 31 Page ID
                                       #:7


  1
      disabilities. Each of the Club members above cannot use the websites controlled by
  2
      the Defendants. Modifications to Defendants’ websites will not fundamentally alter
  3
      the rental services provided and will also not cause an undue burden to Defendants,
  4
      because the cost is less than One Thousand Dollars ($1,000).
  5
      15.   On April 24, 2025, and on a second subsequent date, Plaintiff Club attempted
  6
      to make a request to the Defendants for reasonable accommodation at the property.
  7
      On April 28, 2025, the named individual Plaintiff LEE and Plaintiff Club emailed to
  8
      the Defendants a written request for a reasonable accommodation. In May, 2025,
  9
      Plaintiff LEE and Plaintiff Club, mailed a written request for a reasonable
 10
      accommodation. Defendants failed to respond to both Plaintiffs requests for
 11
      reasonable accommodation as of the date of the filing of this Civil Complaint.
 12
      16.   Plaintiffs are not able to access Defendants rental services due to existing
 13
      overt and obvious communication and physical barriers to access Defendants’ rental
 14
      services both at its online website and at the property. Due to the overt and obvious
 15
      physical barriers as alleged herein below, which are required to be removed,
 16
      Plaintiffs requested that Defendants accommodate them to provide access to
 17

 18
      Defendants’ rental services.
      17.   The named Plaintiffs allege that an accommodation is also obvious when a
 19
      whole group of the protected persons requires it. For example, when the public
 20
      without disabilities are required to get up to a second level, the public would be very
 21
      disturbed if they were required to request steps to go up to second level. When the
 22

 23
      accommodation is specific to a particular person with a disability, then that person

 24
      may be required to make a request, because the accommodation is not obvious.

 25
      18.   Plaintiffs allege that they are not required to make a request for reasonable

 26
      accommodation and for auxiliary aids when the barriers to communication are overt

 27
      and obvious. However, in the present case, Plaintiffs did make such requests for

 28

                       7
                                                                                 COMPLAINT
                                                                                    CASE #
Case 2:25-cv-04807-CAS-MAA        Document 1     Filed 05/28/25    Page 8 of 31 Page ID
                                        #:8


  1
      accommodation to eliminate overt and obvious barriers to its rental services
  2
      communications. Plaintiffs allege that providing effective contact information for
  3
      Defendants’ rental services on the internet is an obvious accommodation. The
  4
      general public does not need to request a contact number from the Defendant
  5
      apartment owner or operator when they desire to rent a place. Defendants provide the
  6
      contact number on their website. Therefore, Plaintiffs allege that Defendants are
  7
      required to provide the obvious accommodation of effective communication for
  8
      people that are deaf or with speech impediment on their website without a request.
  9
      Defendants must make their rental services accessible without the need for a prior
 10
      request. Furthermore, Defendants have a duty to remove architectural barriers and
 11
      communication barriers to their rental services without request.
 12
      19. Plaintiffs allege that there is disparate treatment on the internet related to the
 13
      amenities being offered to people without disabilities and people with disabilities.
 14
      All the below facts and the facts stated elsewhere herein have a disparate impact on
 15
      the disability community. The named Plaintiffs experienced and have knowledge of
 16
      the below facts that the Plaintiffs ascertained from Defendants’ websites. Defendant
 17
      operates an apartment property. The property is located at 21107 Amie Ave,
 18
      Torrance, CA 90503. The property was built in 1961 and has 2 stories with 44 units.
 19
      The rent is approximately: $2,095 - $2,690. The internet provides a wealth of
 20
      information regarding the property. The internet advertises that the property has
 21
      amenities that include: Unique Features: Quartz Counter Tops, Ceiling Fans, High
 22

 23
      Gloss Cabinets, Deep Soaking Marbella Tub, Farmhouse Kitchen Sink, Parking

 24
      Including; Community Amenities: Maintenance on site, Property Manager on Site,

 25
      Trash Pickup – Curbside, Recycling, Storage Space, Pool, Gated; Apartment

 26
      Features: Highlights: Heating, Ceiling Fans, Smoke Free, Cable Ready, Storage

 27
      Space, Tub/Shower, Intercom, Wheelchair Accessible (Rooms); Kitchen Features &

 28

                       8
                                                                                   COMPLAINT
                                                                                      CASE #
Case 2:25-cv-04807-CAS-MAA       Document 1     Filed 05/28/25    Page 9 of 31 Page ID
                                       #:9


  1
      Appliances: Dishwasher, Disposal, Ice Maker, Stainless Steel Appliances, Kitchen,
  2
      Microwave, Oven, Range, Refrigerator, Freezer, Quartz Countertops, Gas Range;
  3
      Model Details: Hardwood Floors, Vinyl Flooring, Double Pane Windows, Window
  4
      Coverings; Fees and Policies: One-Time Move-In Fees: Application Fee $40; Pets:
  5
      Dogs Allowed: Monthly pet rent $50, One-time Fee $350, Pet deposit $350; Cats
  6
      Allowed: Monthly pet rent $35, One-time Fee, $250, Pet deposit $250; Parking:
  7
      Assigned Parking --; Lease Options: 12,13. The property advertises on trulia.com,
  8
      zillow.com, tc-amie1.com, westsiderentals.com, realtor.com, yelp.com. It is very
  9
      important to know that on trulia.com, zillow.com, tc-amie1.com,
 10
      westsiderentals.com there is the equal housing opportunity logo. The plaintiff alleges
 11
      that there is disparate treatment on the internet related to the amenities being offered
 12
      to people without disabilities and people with disabilities. For example, the tow
 13
      signage was not installed. The accessible parking space had an access aisle, which
 14
      was not van accessible. The aisle did not have the “no parking” included in the
 15
      access aisle. The office had a high threshold. There was no International Symbol of
 16
      Accessibility signage. The Internet does not state the accessible amenities at all.
 17
      Also, the statement the “equal housing opportunity statement” is misleading. In fact,
 18
      the property is not completely accessible. All the above facts and the facts stated
 19
      herein have a disparate impact on the disability community.
 20

 21
      20.   On Defendants’ websites, they allow the public without deafness and without

 22
      speech impairments to participate by providing them with a telephone number to

 23
      call. However, Plaintiff Club members that are deaf and or with speech impairments

 24   are denied equal access to participate because the Defendants do not have any
 25   effective communication.
 26   21.   Defendants provide websites for people without disabilities to benefit from the
 27   rental services without going to the apartments to learn about the properties.
 28

                       9
                                                                                  COMPLAINT
                                                                                     CASE #
Case 2:25-cv-04807-CAS-MAA        Document 1 Filed 05/28/25       Page 10 of 31 Page ID
                                        #:10


   1
       However, for people with disabilities that require the access to the facility, the
   2
       Defendants do not provide any information on the websites regarding if the rental
   3
       services located both on or off the property are accessible. Moreover, the Defendants
   4
       provide the telephone number for the public to call to inquire about the rental
   5
       services without providing any effective alternative communications for Plaintiffs
   6
       and other people that are deaf or have speech impairments.
   7
       22.   For people without disabilities, the Defendants provide all of the information
   8
       on their websites. For Plaintiffs with disabilities, Defendants require them to travel to
   9
       the Property to determine if it is accessible, then require them to request the effective
  10
       communication, and then thereafter to request a reasonable accommodation to the
  11
       overt and obvious communication barrier. Therefore, Defendants require Plaintiffs
  12
       and other people with disabilities to suffer a separate benefit.
  13
       23.   Additionally, the named Plaintiffs are alleging photograph discrimination
  14
       related to the physical access of each of the apartments within Exhibit B to this
  15
       complaint. The purpose of Defendants’ internet photographs is to entice perspective
  16
       renters to apply online or to contact the Defendants to rent a place. Defendants’
  17

  18
       internet photographs only entice people without mobility disabilities. Defendants’

  19
       internet photographs exclude any photographs of any accessible features that would

  20
       aid the Plaintiffs. For example, there is no photograph of accessible parking. There

  21
       are no photographs of the accessible route to the rental services both on or off the

  22
       property. There are photographs of the accessible route to the rental services. There

  23
       are no photographs related to the access to get into and use the rental services. There

  24   are no photographs related to the accessible route of the common area. There are no
  25   photographs of the accessible units. In fact, all the photographs lead a person with a
  26   mobility disability to believe that the apartments are not accessible, or that they must
  27   have someone go to the properties to make sure it is accessible. However, people
  28

                        10
                                                                                   COMPLAINT
                                                                                      CASE #
Case 2:25-cv-04807-CAS-MAA        Document 1 Filed 05/28/25         Page 11 of 31 Page ID
                                        #:11


   1
       without disabilities are not required to go to the Property to see if it is accessible.
   2
       24.   Defendants websites and Defendants’ rental services are not integrated for
   3
       people with disabilities as required. Plaintiffs are required to request an
   4
       accommodation. People without disabilities can access the websites and the rental
   5
       services without any problem, but Plaintiffs and other people with disabilities are
   6
       required to request for separate rental services. People with mobility conditions are
   7
       not integrated when using the websites because they must go to the apartments to
   8
       determine if they are accessible, but people without disabilities need only access
   9
       Defendants’ websites to determine they can use them. People that are blind and with
  10
       low vision disabilities must request help to read the website information because the
  11
       printed information is too small, but people without disabilities can access the
  12
       websites without asking for help. Plaintiffs and other people with deafness or people
  13
       with speech condition must ask for help calling the number on the websites, because
  14
       Defendants fail to provide a TTY number to contact, or Defendants fail to provide a
  15
       texting system. Defendants discriminated against the Plaintiffs.
  16
       25.   Plaintiff Club member went to Defendant’s apartment facilities at the Property
  17
       in April, 2025, and on a second subsequent date, to access the rental services. The
  18
       Named Individual Plaintiff has actual knowledge of Defendants’ overt and obvious
  19
       physical barriers, that relate to this Plaintiff’s disabilities, to Defendants’ Property
  20
       on-site rental services that this Named Individual Plaintiff intended to visit in April,
  21
       2025, and on a second subsequent date, but this Plaintiff was deterred from accessing
  22
       Defendant’s rental services located on the Property. Defendants provide rental
  23
       information, rental applications, and other rental services on-site at the Property.
  24
       Defendants’ agents confirmed to the Plaintiffs that rental information, rental
  25
       applications, and other rental services were available on-site at the Property.
  26
       Defendants’ rental services at the Property are not accessible. Defendants’ path of
  27
       travel from the sidewalk to the rental services is not accessible since it has excessive
  28

                        11
                                                                                     COMPLAINT
                                                                                        CASE #
Case 2:25-cv-04807-CAS-MAA        Document 1 Filed 05/28/25       Page 12 of 31 Page ID
                                        #:12


   1
       slopes without handrails and step changes in level along the path. There is an
   2
       excessive and steep slope without handrails that must be traversed to access the main
   3
       entrance door leading into the complex. The main entrance door leading into the
   4
       complex fails to have the required smooth and level landing of sufficient dimensions.
   5
       The main entrance door leading into the complex fails to have the required smooth
   6
       and uninterrupted surface at the bottom of the door. The main entrance door leading
   7
       into the complex is not accessible due to a significant step change in level at the
   8
       main entrance door threshold that is not beveled or ramped. The operating hardware
   9
       on the main entrance door is a round knob. Defendant’s callbox is located too high
  10
       to be accessible. There is an excessive and steep slope without handrails that must
  11
       be traversed to access the second entrance door leading into the complex. The
  12
       second entrance door leading into the complex fails to have the required strike edge
  13
       clearance and smooth and level landing of sufficient dimensions. The second
  14
       entrance door leading into the complex fails to have the required smooth and
  15
       uninterrupted surface at the bottom of the door. The operating hardware on the
  16
       second entrance door is a round knob. There are numerous uneven surfaces that
  17
       must be traversed throughout the complex to access Defendant’s rental services.
  18
       Defendants do not provide the required directional signage as to the designated path
  19
       of travel from the sidewalk to Defendant’s rental services. Defendant’s rental
  20
       services entrance is not accessible due to a significant step change in level at the
  21
       rental services door threshold that is not beveled or ramped. Defendant’s rental
  22
       services entrance door fails to have the required strike edge clearance and smooth
  23
       and level landing of sufficient dimensions. Additionally, Defendant’s rental services
  24
       entry door operating hardware is a round knob. The Named Individual Plaintiff has
  25
       mobility disabilities and these step changes in level, excessive slopes, and the other
  26
       stated issues cause the path of travel and the rental services entry to be not
  27
       accessible. Defendants failed to provide any directional signage indicating an
  28

                        12
                                                                                   COMPLAINT
                                                                                      CASE #
Case 2:25-cv-04807-CAS-MAA        Document 1 Filed 05/28/25        Page 13 of 31 Page ID
                                        #:13


   1
       alternate accessible path of travel to the rental services. Defendants failed to provide
   2
       the required fully compliant van accessible disabled parking for the rental services.
   3
       Defendants failed to provide a dimensionally compliant van accessible disabled
   4
       parking space and disabled parking access aisle, the required disabled parking
   5
       signage, including tow away signage, fine signage, ground markings, and failed to
   6
       locate said parking on a level surface and nearest the rental services. Defendants
   7
       also failed to provide compliant tow away signage. The Named Individual Plaintiff
   8
       requires the use of a compliant van accessible disabled parking space to safely exit
   9
       and re-enter the vehicle. Defendants’ failure to provide the required compliant
  10
       disabled parking, disabled parking access aisle, disabled parking disability signage,
  11
       access aisle, and disability ground markings, such that the Named Individual Plaintiff
  12
       is not able to safely park at Defendants’ establishment since the individual Plaintiff
  13
       may be precluded from exiting or re-entering the vehicle if the disabled parking and
  14
       disabled parking signage is not present and others park improperly. Additionally,
  15
       Defendants failed to provide the required accessible path of travel from the parking
  16
       area to the rental services since the existing path of travel has step changes in level
  17
       and slopes that exceed the maximum permitted. Additionally, Defendants overt and
  18
       obvious communication barriers were also present at the rental services in April,
  19
       2025, and on a second subsequent date. Defendants failed to provide any method of
  20
       text communication with their rental services and failed to publish any information
  21
       as to how to initiate text communication contact. The Named Individual Plaintiff
  22
       had actual knowledge of these barriers at Defendants’ Property that Plaintiff intended
  23
       to visit, and the Named Individual Plaintiff was deterred from accessing Defendants’
  24
       rental services at the Property again in May, 2025. See Property photos in Exhibit B
  25
       and Exhibit C.
  26
       26.   Plaintiff Club and the named Individual Plaintiff desire to make sure that
  27
       Defendants’ rental services at Defendants’ property and Defendants’ websites are
  28

                        13
                                                                                   COMPLAINT
                                                                                      CASE #
Case 2:25-cv-04807-CAS-MAA        Document 1 Filed 05/28/25        Page 14 of 31 Page ID
                                        #:14


   1
       fully accessible to Plaintiff Club’s members, the named Individual Plaintiff, and
   2
       other people with disabilities. Plaintiff Club, its Club members, and the named
   3
       Individual Plaintiff all have actual knowledge of Defendants’ discriminatory
   4
       conditions, and they are currently deterred from attempting further access until the
   5
       barriers are removed. Plaintiff Club and the named Individual Plaintiff intend to
   6
       return to Defendants’ Property and Defendants websites at the end of this action to
   7
       obtain rental services, and to verify that the communication and architectural barriers
   8
       are removed. The named Plaintiffs’ intent to return is genuine. In this case, Plaintiff
   9
       Club has numerous members residing near Defendants Property. Plaintiff Club’s
  10
       members have actual knowledge of the discriminatory conditions as alleged herein
  11
       when the Plaintiff Club investigated the Property and the rental services and
  12
       determined that the Club members would not be able to use the rental services due to
  13
       the discriminatory conditions. Therefore, Plaintiff Club members were and are
  14
       deterred from visiting the properties. Plaintiff Members were not required to
  15
       actually visit the properties. See Civil Rights Education & Enforcement Center v.
  16
       Hospitality Properties Trust, 867 F.3d 1093 (9th Cir. 2017). However, a member of
  17

  18
       Plaintiff Cub did visit and attempt to access Defendants’ rental services at

  19
       Defendants’ property. Plaintiff Club and the individual Plaintiff have specific plans

  20
       to visit at the conclusion of this case to obtain rental information and to verify the

  21
       Defendants ceased its discriminatory conduct by removing communication and

  22
       physical barriers to access to the rental services.

  23

  24    DISCRIMINATORY PRACTICES IN HOUSING ACCOMMODATIONS –
  25   FAIR HOUSING ACT CLAIMS
  26
       27.   FHA Standing:

  27
             Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this

  28

                        14
                                                                                    COMPLAINT
                                                                                       CASE #
Case 2:25-cv-04807-CAS-MAA        Document 1 Filed 05/28/25        Page 15 of 31 Page ID
                                        #:15


   1
       complaint, Defendants discriminated against Plaintiffs in violation of FHA sections §
   2
       3604(f)(1- 3) and 42 § 3604(c), as further detailed below. As a result, the present
   3
       named Plaintiffs suffered injury as a result of Defendants discriminatory actions, and
   4
       named Plaintiffs now pray for damages, injunctive relief, declaratory relief, and
   5
       other relief as hereinafter stated. The Federal Fair Housing Act applies to
   6
       Defendants’ apartment complex since it has more than 4 residential units. FHA
   7
       standing is substantially broader than standing under the ADA due to the critically
   8
       important need of adequate availability of housing for the disabled. A potential
   9
       plaintiff is not even required to have an interest in renting a particular property or
  10
       dwelling to have standing. Smith v. Pacific Properties and Development Corp, 358
  11
       F.3d 1097, 1099 (9th Cir 2004) [Testers have standing to bring Fair Housing Act
  12
       claims, Id 1099, 1104]. Under the Act, any person harmed by discrimination,
  13
       whether or not the target of the discrimination, can sue to recover for his or her own
  14
       injury. See Trafficante v. Metropolitan Life Ins. Co., 409 U.S. 205, 212, 93 S.Ct. 364,
  15
       34 L.Ed.2d 415 (1972). “This is true, for example, even where no housing has
  16
       actually been denied to persons protected under the Act.” San Pedro Hotel v City of
  17
       Los Angeles, 159 F.3d 470, 474-475 (9th Cir 1998). In the present case, the named
  18
       Plaintiffs alleged they suffered the injury of discriminatory conduct by Defendants,
  19
       and that the named Plaintiffs suffered monetary and other damages as a result. The
  20
       named Plaintiffs seek injunctive relief as well as damages, both of which are
  21
       available under 42 USC § 3613(c). Assuming arguendo in the present case, that
  22
       prospective injunctive relief was not available to Plaintiffs due to mootness or
  23
       otherwise, which Plaintiffs dispute; the named Plaintiffs are still permitted to recover
  24
       damages under their federal FHA claims. Harris v Itzakhi, 183 F.3d 1043, 1050 (9th
  25
       Cir 1999) [During the appeal in Harris case, the plaintiff therein moved Three
  26
       Thousand (3000) miles away and her injunctive claims became moot. However,
  27
       Plaintiff’s claim for damages survived and was not affected]. In the present case,
  28

                        15
                                                                                    COMPLAINT
                                                                                       CASE #
Case 2:25-cv-04807-CAS-MAA        Document 1 Filed 05/28/25       Page 16 of 31 Page ID
                                        #:16


   1
       while Plaintiffs can satisfy the injunctive relief prudential standing requirements, the
   2
       above Ninth Circuit Harris court authority makes it clear that those prudential
   3
       standing requirements for injunctive relief are not applicable to Plaintiffs FHA
   4
       damage claims. Hence, in the present case, Plaintiffs damage claims survive even if
   5
       prospective injunctive relief is not available. The present Plaintiff Club has
   6
       organization standing separately on its own under the FHA. Additionally, under the
   7
       FHA, Plaintiff Club has associational standing to assert its Club member claims
   8
       since it only seeks injunctive and declaratory relief as to its Club members. Plaintiff
   9
       Club and the named Individual Plaintiff have standing with respect to the following
  10
       FHA claims.
  11

  12
       CLAIM I: Discrimination In Violation of 42 § 3604(f)(1) - Failure To Have A
  13
       Policy For Receiving Prospective Tenant Accommodation Requests, Failure To
  14
       Train Staff, And Failure To Make The Policy Known To The Plaintiffs
  15
       28.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
  16
       complaint, the named Plaintiffs suffered discrimination by Defendants in violation of
  17
       this FHA section. This FHA statute states it is unlawful to discriminate in the sale or
  18
       rental, or to otherwise make unavailable or deny, a dwelling to any buyer or renter
  19
       because of a handicap of (A) that buyer or renter; (B) a person residing in or
  20
       intending to reside in that dwelling after it is so sold, rented, or made available; or…
  21
       §3604(f)(1) [emphasis added]. See Texas Dept. of Housing and Community Affairs
  22
       v Inclusive Communities Project, 135 S.Ct. 2507, 2519 (2015) [FHA statutory
  23
       scheme permits disparate impact claims, and those type of claims do not require
  24
       intent]. due to Defendants’ communication and architectural barriers, Defendants
  25
       discriminated against Plaintiffs by failing to have a policy, practice, or method for
  26
       Plaintiffs to make a reasonable accommodation request for equal access to their
  27
       rental services on their website or at their Property. Defendants have an affirmative
  28

                        16
                                                                                   COMPLAINT
                                                                                      CASE #
Case 2:25-cv-04807-CAS-MAA        Document 1 Filed 05/28/25        Page 17 of 31 Page ID
                                        #:17


   1
       duty to have a policy, process to receive such accommodation requests and to
   2
       respond to said requests. See Giebeler v. M & B Associates, 343 F.3d 1143 (9th Cir.
   3
       2003). As a result, Defendant caused Plaintiffs to suffer disparate impact
   4
       discrimination.
   5

   6
       CLAIM II: Failure to Engage in Interactive Process In Violation Of The Fair
   7
       Housing Act And California Fair Employment And Housing Act
   8
       29.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
   9
       complaint, Plaintiffs suffered discrimination by Defendants in violation of FHA
  10
       section § 3604(f)(1) and § 3604(f)(2). Plaintiffs contend that Defendant failed to
  11
       engage in a good-faith interactive process to determine and to implement effective
  12
       reasonable accommodations so that Plaintiffs could gain equal access Defendants’
  13
       rental services, to apply for a lease, or to allow Plaintiffs to access Defendants’ rental
  14
       services both on or off the property and apartments.
  15
       CLAIM III: Discrimination In Violation of 42 § 3604(f)(2)
  16
       30.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
  17
       complaint, the named Plaintiffs suffered discrimination by Defendants in violation of
  18
       this FHA section § 3604(f)(2). This FHA section states “it shall be unlawful to
  19
       discriminate against any person in the terms, conditions, or privileges of sale or
  20
       rental of a dwelling, or in the provision of services or facilities in connection with
  21
       such dwelling”. Plaintiffs more specific factual basis for this claim is set forth
  22
       above at ¶¶23-26 above. As previously stated, the named Individual Plaintiff was a
  23
       prospective renter and Plaintiff Club was also seeking rental housing on behalf of the
  24
       named Individual Plaintiff ¶¶8 – 26 above. In the instant case, Defendant’s rental
  25
       services located on the Property or off-site are “services” in connection with the
  26
       rental of a dwelling and the on-site or off-site rental services provided fall within the
  27
       FHA statute. In the instant case, the named Plaintiffs both assert that Defendant’s
  28

                         17
                                                                                    COMPLAINT
                                                                                       CASE #
Case 2:25-cv-04807-CAS-MAA        Document 1 Filed 05/28/25        Page 18 of 31 Page ID
                                        #:18


   1
       failure to remove communication and architectural barriers to permit access to
   2
       Defendant’s on-site rental services contained is a separate, independent, actionable
   3
       violation of this FHA section § 3604(f)(2), even without reference to the ADA as a
   4
       predicate. Plaintiffs have alleged that Defendants’ Property has overt and obvious
   5
       physical barriers to access its rental services provided at the property. See ¶¶25 -26.
   6
       The 9th Circuit Smith court stated that the mere observation of overt architectural
   7
       barriers is actionable. Smith at 1104 [“To read an additional standing requirement
   8
       into the statute beyond mere observation, however, ignores that many overtly
   9
       discriminatory conditions, for example, lack of a ramped entryway, prohibit a
  10
       disabled individual from forming the requisite intent or actual interest in renting or
  11
       buying for the very reason that architectural barriers prevent them from viewing the
  12
       whole property in the first instance” (emphasis in original)]. The Smith court found
  13
       Defendants liable under this FHA subsection even though that case did not involve
  14
       ADA Title III claims. However, Plaintiffs did not just allege that Plaintiff Club
  15
       observed Defendant’s overt architectural barriers, but Plaintiffs alleged that a
  16
       Plaintiff Club member experienced the barriers, that the named Individual Plaintiff
  17
       had actual knowledge of Defendants’ communication and architectural barriers and
  18
       Plaintiff LEE was deterred from obtaining equal access to Defendant’s rental
  19
       services located thereon. Defendants also discriminated against Plaintiffs by failing
  20
       to modify its practices and policies to provide access via other methods of access to
  21
       its rental services located on or off the property site. Defendant’s failure to remove
  22
       the architectural and communication barriers to access its facilities and the rental
  23
       services located thereon, or failure to provide an accommodation to provide methods
  24
       of alternate access to their rental services, constitutes the prohibited discrimination,
  25
       separately and independently. Additionally, Defendant’s conduct is also prohibited
  26
       under ADA Title III and constitutes a second, separate, independent source of
  27
       discrimination against Plaintiffs in violation of FHA § 3604(f)(2). Since Defendants
  28

                        18
                                                                                    COMPLAINT
                                                                                       CASE #
Case 2:25-cv-04807-CAS-MAA        Document 1 Filed 05/28/25       Page 19 of 31 Page ID
                                        #:19


   1
       discriminatory conduct involves Defendants’ rental facilities and its rental services
   2
       located therein, Plaintiffs assert any discriminatory conduct found in violation of
   3
       ADA Title III also constitutes prohibited “discrimination” under FHA § 3604(f)(2).
   4
       CLAIM IV: Discrimination In Violation of 42 § 3604(f)(3)(A and B only)
   5
       31.   Plaintiffs do not make any claim against Defendants for a failure to “design
   6
       and construct” pursuant to § 3604(f)(3)(C). Based on the facts plead at ¶¶ 8 - 26
   7
       above and elsewhere herein this complaint, Plaintiffs suffered discrimination by
   8
       Defendants in violation of FHA sections § 3604(f)(3)(A, B) only. The FHA requires
   9
       that “….[f]or the purposes of this subsection, discrimination includes-- (B) a refusal
  10
       to make reasonable accommodations in rules, policies, practices, or services, when
  11
       such accommodations may be necessary to afford such person equal opportunity to
  12
       use and enjoy a dwelling...” 42 § 3604(f)(3)(B). See also Giebeler v. M & B
  13
       Associates, 343 F.3d 1143 (9th Cir 2003). Defendants improperly refused Plaintiffs’
  14
       repeated written and other requests for an accommodation to have equal access to its
  15
       rental services.
  16
       CLAIM V: Discrimination In Violation of 42 § 3604(c) As To NSA
  17
       32.   Based on information, belief, and the facts plead at ¶¶ 8 – 26 above and
  18
       elsewhere herein, Plaintiffs herein alleges that Defendants caused Plaintiffs to suffer
  19
       the injury of discrimination since Defendants violated 42 U.S.C. §§ 3604 (c) with
  20
       respect to its notices, statements, and advertisements (“NSA”) . Plaintiffs allege that
  21
       Defendants discriminated against them when Defendants made, printed, or
  22

  23
       published, or caused to be made printed, or published notices, statements, or

  24
       advertisements (“NSA”) that suggest to an ordinary reader a preference to attract

  25
       tenants without disabilities. Defendants' Internet advertising regarding its rental

  26
       services has an unlawful disparate impact on Plaintiffs.

  27

  28

                          19
                                                                                  COMPLAINT
                                                                                     CASE #
Case 2:25-cv-04807-CAS-MAA        Document 1 Filed 05/28/25       Page 20 of 31 Page ID
                                        #:20


   1
       SECOND CAUSE OF ACTION : Violation of California Fair Housing Act
   2
       33.     Failure to Provide Obvious Reasonable Accommodation and Modification:
   3
       Based on information, belief and the facts stated above at ¶¶ 8 – 26 above and
   4
       elsewhere in this complaint, Plaintiffs allege that Defendants refused to make
   5
       reasonable accommodations in rules, policies, practices, or services in violation of
   6
       CA Government Code sections 12927 and 12955.2, when these accommodations
   7
       may be necessary to afford a disabled person equal opportunity to use and enjoy
   8
       Defendants’ rental services. As stated in detail above, Defendants refused to make
   9
       reasonable accommodations with the instant Plaintiffs and discriminated against each
  10
       of them on the basis of disability.
  11

  12
       THIRD CAUSE OF ACTION AGAINST ALL DEFENDANTS- Claims Under
  13
       The Americans With Disabilities Act Of 1990
  14
       34.   ADA Standing:
  15
             ADA Title III does cover public and common use areas at housing
  16
       developments when these public areas are, by their nature, open to the general
  17
       public. An office providing rental services is open to the general public. (See U.S.
  18
       Department of Justice - ADA Title III Technical Assistance Section III-1.2000,
  19
       Illustration 3, office on or off the site covered). The parking and paths of travel to
  20
       the office on or off the site are also covered. See Section III–1.2000, ADA Title III
  21
       Technical Assistance Manual, http://www.ada.gov/taman3.html (“ILLUSTRATION
  22
       3: A private residential apartment complex contains a office on or off the site. The
  23
       office on or off the site is a place of public accommodation”). See Kalani v Castle
  24
       Village, LLC, 14 F.Supp.3d 1359, 1371 (E.D.Cal, 2014)[ citing Johnson v. Laura
  25
       Dawn Apartments, LLC, 2012 WL 33040 at *1 n. 1 (E.D.Cal.2012) (Hollows, M.J.)
  26
       (“[t]he leasing office of an apartment is a place of public accommodation.] . In the
  27
       present case, the named Plaintiffs have also sufficiently alleged that Defendants
  28

                        20
                                                                                   COMPLAINT
                                                                                      CASE #
Case 2:25-cv-04807-CAS-MAA       Document 1 Filed 05/28/25       Page 21 of 31 Page ID
                                       #:21


   1
       provide rental services at the property. Following prior sister Circuit Courts of
   2
       Appeals decisions, our Ninth Circuit Court very recently held that an ADA Plaintiff
   3
       can be only a “tester” and have standing. See Civil Rights Education & Enforcement
   4
       Center v. Hospitality Properties Trust, 867 F.3d 1093 (9th Cir. 2017) [the Ninth
   5
       Circuit CREEC court held (1) ADA “tester” standing is valid and a Plaintiff’s
   6
       motivation for visit is “irrelevant”, and (2) an ADA “deterrent effect doctrine” claim
   7
       does not require a Plaintiff to have a personal encounter with the barrier to equal
   8
       access, only to have knowledge of the barrier] citing Havens Realty Corp. v.
   9
       Coleman, 455 U.S. 363, 372–74, 102 S.Ct. 1114 (1982); Smith v. Pacific Properties
  10
       and Development Corp, 358 F.3d 1097, 1102-1104 (9th Cir 2004); Chapman v. Pier
  11
       1 Imports (U.S.) Inc., 631 F.3d 939 (9th Cir 2011, en banc); Houston v. Marod
  12
       Supermarkets, Inc., 733 F.3d 1323, 1335–37 (11th Cir. 2013); Colo. Cross Disability
  13
       Coal. v. Abercrombie & Fitch Co., 765 F.3d 1205, 1210–11 (10th Cir. 2014). In the
  14
       present case, the named Plaintiffs each have ADA standing. Plaintiffs have alleged
  15
       that Defendants discriminated against Plaintiffs in violation of ADA Title III statutes
  16
       and regulations as detailed further in the ADA claims stated below. As a result, the
  17
       named Plaintiffs have each suffered injury and each seek only injunctive and
  18
       declaratory relief pursuant to their ADA Claims.
  19
       CLAIM I: Auxiliary Aids – Failure To Effectively Communicate
  20
       35.   42 United States Code 12182(b)(2)(iii) states, "a failure to take such steps as
  21
       may be necessary to ensure that no individual with a disability is excluded, denied
  22
       services, segregated or otherwise treated differently than other individuals because of
  23
       the absence of auxiliary aids and services, unless the entity can demonstrate that
  24
       taking such steps would fundamentally alter the nature of the good, service, facility,
  25
       privilege, advantage, or accommodation being offered or would result in an undue
  26
       burden;..." Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this
  27
       complaint, Plaintiffs are informed, believe, and thereon allege that Defendants
  28

                        21
                                                                                  COMPLAINT
                                                                                     CASE #
Case 2:25-cv-04807-CAS-MAA        Document 1 Filed 05/28/25        Page 22 of 31 Page ID
                                        #:22


   1
       violated said provision. Plaintiffs set forth the factual basis for this claim most
   2
       specifically at ¶¶ 13 -14, 16-24 above. The ADA “applies to the services of a place
   3
       of public accommodation, not services in a place of public accommodation. To limit
   4
       the ADA to discrimination in the provision of services occurring on the premises of a
   5
       public accommodation would contradict the plain language of the statute.” Nat’l
   6
       Fed’n of the Blind v. Target Corp., 452 F. Supp. 2d 946, 953 (N.D. Cal. 2006)
   7
       (emphasis added) (citing Weyer v. Twentieth Century Fox Film Corp., 198 F.3d
   8
       1104, 1115 (9th Cir. 2000) [holding that “whatever goods or services the place
   9
       provides, it cannot discriminate on the basis of disability in providing enjoyment of
  10

  11
       those goods and services”]). An ADA plaintiff may challenge a business’ online

  12
       offerings as well. So long as there is a “nexus”—that is, “some connection between

  13
       the good or service complained of and an actual physical place”—a plaintiff may

  14
       challenge the digital offerings of an otherwise physical business. See Gorecki v.

  15   Hobby Lobby Stores, Inc, 2017 WL 2957736, at *4 (C.D. Cal. June 15, 2017) [Case:
  16   CV 17–1131–JFW (SKx)]. The ADA requires the Defendants to provide effective
  17   communication to the instant Plaintiffs and to people with disabilities. In the
  18   present case, Plaintiffs experienced and have knowledge that Defendants failed to
  19   have a required procedure to provide effective communication. Plaintiffs allege that
  20   Defendants failed to train their staff on the way to use the auxiliary aids. Defendants
  21   did not provide any auxiliary aid and the Defendants did not provide any reasonable
  22   accommodation to the overt and obvious communication barriers, and failed to
  23   respond to Plaintiffs’ requests for accommodation. Plaintiffs are not demanding that
  24   Defendants provide a specific reasonable accommodation or a specific auxiliary aid.
  25   ADA law allows the Defendants to decide what auxiliary aid and reasonable
  26   accommodation will be provided. In this case, however, Defendants failed to
  27   provide any reasonable accommodation for the overt and obvious communication
  28

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                                                                                    COMPLAINT
                                                                                       CASE #
Case 2:25-cv-04807-CAS-MAA        Document 1 Filed 05/28/25        Page 23 of 31 Page ID
                                        #:23


   1
       barriers to equal access to their rental services, failed to provide any auxiliary aid,
   2
       and failed to provide any effective communication. Plaintiffs allege that Defendants’
   3
       websites provide a contact number for the general public, but Defendants failed to
   4
       provide Plaintiffs with the required effective communication using texting or other
   5
       alternate means of communication for Plaintiffs and other people with a deaf
   6
       condition or a speech condition. Defendants’ conduct discriminates against Plaintiff
   7
       Club’s members that have hearing disabilities and Club’s members with speech
   8
       disabilities. Defendants are required to provide, on Defendants’ websites, to provide
   9
       a method to effectively communicate with Plaintiff Club members that have hearing
  10

  11
       and speech disabilities, and other people that are deaf or have speech impairments.

  12
       CLAIM II: Denial of Participation

  13
       36.   42 United States Code 12182(b)(1)(A)(i) states, "It shall be discriminatory to

  14
       subject an individual or class of individuals on the basis of a disability or disabilities

  15   of such individual or class, directly, or through contractual, licensing, or other
  16   arrangements, to a denial of the opportunity of the individual or class to participate in
  17   or benefit from the goods, services, facilities, privileges, advantages, or
  18   accommodations of an entity." Based on the facts plead at ¶¶ 8 - 26 above and
  19   elsewhere in this complaint, Plaintiffs are informed, believe, and thereon allege that
  20   Defendants violated said provision. Plaintiffs set forth the factual basis for this claim
  21   most specifically at ¶¶ 20-24 above. Defendants discriminated against Plaintiffs in
  22   violation of 42 United States Code 12182(b)(1)(A)(i) and 42 U.S.C. § 12188.
  23   CLAIM III: Participation in Unequal Benefit
  24   37.   Defendants provide unequal benefit for people with disabilities in violation of
  25   42 United States Code 12182(b)(1)(A)(ii) and 42 U.S.C. § 12188. Based on the facts
  26   plead at ¶¶ 8 - 26 above and elsewhere in this complaint, Plaintiffs are informed,
  27   believe, and thereon allege that Defendants discriminated against Plaintiffs in
  28

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                                                                                     COMPLAINT
                                                                                        CASE #
Case 2:25-cv-04807-CAS-MAA         Document 1 Filed 05/28/25        Page 24 of 31 Page ID
                                         #:24


   1
       violation of said provision. Plaintiffs set forth the factual basis for this claim most
   2
       specifically at ¶¶ 20-24 above.
   3
       CLAIM IV: Separate Benefit
   4
       38.   Defendants’ photographs discriminate against Plaintiffs in violation of 42
   5
       United States Code 12182(b)(2)(A)(iii) and 42 U.S.C. § 12188. Based on the facts
   6
       plead at ¶¶ 8 - 26 above and elsewhere in this complaint, Plaintiffs are informed,
   7
       believe, and thereon allege that Defendants discriminated against Plaintiffs in
   8
       violation of said provision. Plaintiffs set forth the factual basis for this claim most
   9
       specifically at ¶¶ 20-24 above.
  10

  11
       CLAIM V: Integrated Settings

  12
       39.   Defendants’ rental services are not integrated for Plaintiffs and people with

  13
       disabilities in violation of 42 United States Code 12182(b)(1)(B) and 42 U.S.C. §

  14
       12188. Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,

  15   Plaintiffs are informed, believe, and thereon allege that Defendants discriminated
  16   against Plaintiffs in violation of said provision. Plaintiffs set forth the factual basis
  17   for this claim most specifically at ¶¶ 20-24 above.
  18
       CLAIM VI: Failure To Modify Practices, Policies And Procedures
  19   40.   Defendants failed and refused to provide a reasonable alternative by
  20   modifying its practices, policies, and procedures in that they failed to have a scheme,
  21   plan, or design to accommodate Plaintiff Club, its Club members, the individual
  22   named Plaintiff, and/or others similarly situated in utilizing Defendants' rental
  23   services, at its websites and at the Property, in violation of 42 United States Code
  24   12182(b)(2)(A)(ii) and 42 U.S.C. § 12188. Based on the facts plead at ¶¶ 8 - 26
  25   above and elsewhere in this complaint, Plaintiffs are informed, believe, and thereon
  26   allege that Defendants discriminated against Plaintiffs in violation of said provision.
  27   Plaintiffs set forth the factual basis for this claim most specifically at ¶¶ 18-26 above.
  28

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                                                                                     COMPLAINT
                                                                                        CASE #
Case 2:25-cv-04807-CAS-MAA        Document 1 Filed 05/28/25        Page 25 of 31 Page ID
                                        #:25


   1
       CLAIM VII: Failure To Remove Architectural And Communication Barriers
   2
       41.   Plaintiffs allege that Defendants failed to remove architectural barrier and
   3
       communication barriers as required in violation of 42 United States Code
   4
       12182(b)(2)(A)(iv) and 42 U.S.C. § 12182. Based on the facts plead at ¶¶ 8 - 26
   5
       above and elsewhere in this complaint, Plaintiffs are informed, believe, and thereon
   6
       allege that Defendants discriminated against the named Individual Plaintiff in
   7
       violation of said provision. Plaintiffs set forth the factual basis for this claim most
   8
       specifically at ¶¶ 8,9,20-24,25,26 above. The named Individual Plaintiff personally
   9
       reviewed all the information and photographs of Defendants’ property. As a result,
  10
       the named Individual Plaintiff has actual knowledge of the physical and
  11
       communication barriers that exist at Defendants’ Property. The named Individual
  12
       Plaintiff determined that the physical barriers that exist at Defendants’ property,
  13
       directly relate to his disabilities, and make it impossible or extremely difficult for
  14
       him to physically access Defendants’ rental services at the Property. The named
  15
       Individual Plaintiff was deterred by his actual knowledge of the physical and
  16
       communication barriers that exist at Defendants’ Property which include but are not
  17
       limited to the barriers to facilities and services for disabled parking, exterior path of
  18
       travel to the rental services at the property, entrance and interior, since said
  19
       Defendants’ facilities and rental services were not accessible because they failed to
  20
       comply with the Federal ADA Accessibility Guidelines (“ADAAG”) and California's
  21
       Title 24 Building Code Requirements. See ¶¶ 25 for details. The named Individual
  22
       Plaintiff had actual knowledge of these barriers and determined that it would be
  23
       futile gesture for him to go to the Property on the date that he had originally
  24
       intended. The named Individual Plaintiff is currently deterred from returning due to
  25
       his knowledge of the barriers. At the end of this action, the named Individual
  26
       Plaintiff intends to return to Defendants’ property or off the site location to obtain
  27
       rental information and verify that the communication and physical barriers to
  28

                        25
                                                                                    COMPLAINT
                                                                                       CASE #
Case 2:25-cv-04807-CAS-MAA        Document 1 Filed 05/28/25        Page 26 of 31 Page ID
                                        #:26


   1
       Defendants’ rental services are removed. Defendants failure to remove the barriers
   2
       to equal access constitutes discrimination against the named Individual Plaintiff.
   3
       CLAIM VIII: Failure To Make Alterations Readily Accessible And Usable
   4
       42.   Defendants are required to make alterations to their facilities in such a manner
   5
       that, to the maximum extent feasible, the altered portions of the facility are readily
   6
       accessible to and usable by individuals with disabilities, including individuals who
   7
       use devices pursuant to 42 U.S.C. §12183(a)(2). Based on the facts plead at ¶¶ 8 -
   8
       26 above and elsewhere in this complaint, the named Plaintiffs are informed, believe,
   9
       and thereon allege that Defendants violated this provision. Plaintiffs allege that
  10
       Defendants altered their facility in a manner that affects or could affect the usability
  11
       of the facility or a part of the facility after January 26, 1992. In performing the
  12
       alteration, Plaintiffs allege that Defendants failed to make the alteration in such a
  13
       manner that, to the maximum extent feasible, the altered portions of the facility are
  14
       readily accessible to and usable by individuals with disabilities, including individuals
  15
       who use devices, in violation of 42 U.S.C. §12183(a)(2).
  16
       CLAIM IX: Administrative Methods
  17
       43.   Plaintiffs are informed, believe, and thereon allege that Defendants contract
  18

  19
       with website providers without making sure that the websites will be accessible to

  20
       people with disabilities in violation of 42 United States Code 12182(b)(1)(B) and 42

  21
       U.S.C. § 12188. Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this

  22   complaint, Plaintiffs are informed, believe, and thereon allege that Defendants
  23   discriminated against the named Individual Plaintiff in violation of said provision.
  24   Plaintiffs set forth the factual basis for this claim most specifically at ¶¶18-26 above.
  25   CLAIM X: Screen Out
  26   44.   Plaintiffs are informed, believe, and thereon allege that Defendants screened
  27   out Plaintiffs and other people with disabilities in violation of 42 United States Code
  28

                        26
                                                                                    COMPLAINT
                                                                                       CASE #
Case 2:25-cv-04807-CAS-MAA        Document 1 Filed 05/28/25         Page 27 of 31 Page ID
                                        #:27


   1
       12182(b)(2)(A)(i) and 42 U.S.C. § 12188. Based on the facts plead at ¶¶ 8 - 26
   2
       above and elsewhere in this complaint, Plaintiffs are informed, believe, and thereon
   3
       allege that Defendants discriminated against the named Plaintiffs in violation of said
   4
       provision. Plaintiffs set forth the factual basis for this claim most specifically at ¶¶ 8
   5
       - 26 above. Defendants screened out the named Plaintiffs from its rental services and
   6
       processes, because Defendants failed to remove architectural and communication
   7
       barriers to its website and property, failed to provide required effective alternate
   8
       communication methods, and failed to provide required auxiliary aids.
   9

  10
       CLAIM XI: Denial Of Full And Equal Access
  11
       45.   Defendants are required to provide full and equal access to Defendants' rental
  12
       services, goods, facilities, privileges, advantages, or accommodations pursuant to 42
  13
       United States Code 12182(b) and 42 U.S.C. § 12188. Based on the facts plead at ¶¶
  14
       8 - 26 above and elsewhere in this complaint, Plaintiffs are informed, believe, and
  15
       thereon allege that Defendants discriminated against the named Plaintiffs in violation
  16
       of said provision. Plaintiffs set forth the factual basis for this claim most specifically
  17
       at ¶¶ 8 - 26 above.
  18

  19
       CLAIM XII: Failure To Investigate And Maintain Accessible Features
  20

  21
       46.    Defendants made repairs and administrative changes which violated ADA and

  22
       its regulations. See ADA Title III Regulations Sec.36.211 Maintenance of accessible

  23   features. Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
  24   Defendants failed to provide and then maintain any accessible features in its parking,
  25   path of travel, on or off the property site for rental services and website rental
  26   services. Plaintiffs are informed, believe, and thereon allege that Defendants
  27   discriminated against the named Plaintiffs in violation of this provision.
  28

                        27
                                                                                     COMPLAINT
                                                                                        CASE #
Case 2:25-cv-04807-CAS-MAA        Document 1 Filed 05/28/25       Page 28 of 31 Page ID
                                        #:28


   1
       CLAIM XIII: Association
   2

   3
       47.    Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,

   4   Plaintiffs are informed, believe, and thereon allege that Defendants discriminated
   5   against the named Plaintiffs in violation of 42 U.S.C. § 12182(b)(1)(E)
   6         DISCRIMINATORY PRACTICES IN PUBLIC ACCOMMODATIONS
   7          FOURTH CAUSE OF ACTION: ONLY THE INDIVIDUALL NAMED
   8   PLAINTIFF AGAINST ALL DEFENDANTS - CLAIMS UNDER CALIFORNIA
   9                                   ACCESSIBILITY LAWS
  10   CLAIM I: Denial Of Full And Equal Access
  11
       48.    Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint, the
  12
       named Individual Plaintiff was denied full and equal access to Defendants' goods.
  13
       services, facilities, privileges, advantages, or accommodations within a public
  14
       accommodation owned, leased, and/or operated by Defendants as required by Civil
  15
       Code Sections 54, 54.1, and specifically 54.1(d). The factual basis for this claim is at
  16
       18-28 above.
  17
       CLAIM II: Failure To Modify Practices, Policies And Procedures
  18
       49.    Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
  19
       the named Individual Plaintiff was denied full and equal access to Defendants' goods.
  20
       Defendants failed and refused to provide a reasonable alternative by modifying its
  21
       practices, policies, and procedures in that they failed to have a scheme, plan, or
  22
       design to assist Plaintiff Members and/or others similarly situated in entering and
  23
       utilizing Defendants' services as required by Civil Code § 54.1. The factual basis for
  24
       this claim is at 18-28 above.
  25
       CLAIM III: Violation Of The Unruh Act
  26
       50.    Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
  27
       the individual, the named Individual Plaintiff was denied full and equal access to
  28

                         28
                                                                                  COMPLAINT
                                                                                     CASE #
Case 2:25-cv-04807-CAS-MAA       Document 1 Filed 05/28/25       Page 29 of 31 Page ID
                                       #:29


   1
       Defendants' goods. Defendants violated the CA Civil Code § 51 by specifically
   2
       failing to comply with Civil Code §51(f). Defendants' facility violated state
   3
       disability laws, the ANSI Standards, A117, and California's Title 24 Accessible
   4
       Building Code by failing to provide equal access to Defendants’ facilities.
   5
       Defendants did and continue to discriminate against Plaintiff Members in violation
   6
       of Civil Code §§ 51(f), and 52. The factual basis for this claim is at 18-28 above.
   7
                  Treble Damages Pursuant To California Accessibility Laws
   8
       51.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
   9
       only the named Individual Plaintiff prays for an award of treble damages against
  10
       Defendants, and each of them, pursuant to California Civil Code sections 52(a) and
  11
       54.3(a). Defendants, each of them respectively, at times prior to and including the
  12
       day the named Individual Plaintiff attempted patronized Defendants’ facilities and
  13
       rental services, and continuing to the present time, knew that persons with physical
  14
       disabilities were denied their rights of equal access. Despite such knowledge,
  15
       Defendants, and each of them, failed and refused to take steps to comply with the
  16
       applicable access statutes; and despite knowledge of the resulting problems and
  17
       denial of civil rights thereby suffered by the named Individual Plaintiff. Defendants,
  18
       and each of them, have failed and refused to take action to grant full and equal access
  19
       to the individual Plaintiff in the respects complained of hereinabove. Defendants,
  20
       and each of them, have carried out a course of conduct of refusing to respond to, or
  21
       correct complaints about, denial of disabled access and have refused to comply with
  22
       their legal obligations to make Defendants’ public accommodation facilities and
  23
       rental services accessible pursuant to the ADAAG and Title 24 of the California
  24
       Code of Regulations (also known as the California Building Code). Such actions
  25
       and continuing course of conduct by Defendants in conscious disregard of the rights
  26
       and/or safety of the named Individual Plaintiff justify an award of treble damages
  27
       pursuant to sections 52(a) and 54.3(a) of the California Civil Code.
  28

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                                                                                 COMPLAINT
                                                                                    CASE #
Case 2:25-cv-04807-CAS-MAA         Document 1 Filed 05/28/25         Page 30 of 31 Page ID
                                         #:30


   1
                           DEMAND FOR JUDGMENT FOR RELIEF:
   2
       A.     All named Plaintiffs seeks injunctive relief pursuant to 42 U.S.C. 3613(c) and
   3
       42 U.S.C. § 12188(a). Only the named Individual Plaintiff seeks injunctive relief
   4
       pursuant to CA Civil Code §52. Pursuant to 42 U.S.C. 3613(c), all Plaintiffs request
   5
       this court to enjoin Defendants to cease their discriminatory practices in housing
   6
       rental services, rental housing management services, and for Defendants to
   7
       implement written policies and methods to respond to reasonable accommodation
   8
       and reasonable modification requests. Pursuant to 42 U.S.C. § 12188(a), Plaintiffs
   9
       request this Court enjoin Defendants to remove all barriers to equal access to the
  10
       disabled Plaintiffs in, at, or on their facilities, including but not limited to
  11
       architectural and communicative barriers in the provision of Defendants’ rental
  12
       services. Plaintiffs do not seek injunctive relief pursuant to Cal. Civil Code §55 and
  13
       Plaintiffs do not seek attorneys’ fees pursuant to Cal. Civil Code §55. Plaintiffs do
  14
       not seek any relief at all pursuant to Cal. Civil Code §55.
  15
       B.     All named Plaintiffs seek actual damages pursuant to 42 U.S.C. 3613(c).
  16
       However, Plaintiff Club only seeks damages for itself. Plaintiff Club does not seek
  17
       damages on behalf of its members;
  18
       C. Only the named Individual Plaintiff seeks recovery of actual damages pursuant
  19
       to Cal. Civil Code §§ 52 or 54.3;
  20
       D.     Only the named Individual Plaintiff seeks $4,000 in minimum statutory
  21
       damages pursuant to Cal. Civil Code § 52 for each and every offense of Civil Code §
  22
       51, pursuant to Munson v. Del Taco, (June 2009) 46 Cal. 4th 661;
  23
       E.     In the alternative to the damages pursuant to Cal. Civil Code § 52 in Paragraph
  24
       C above, only the named individual Plaintiff seeks $1,000 in minimum statutory
  25
       damages pursuant to Cal. Civil Code § 54.3 for each and every offense of Civil Code
  26
       § 54.1;
  27
       F.     All named Plaintiffs seek attorneys' fees pursuant to 42 U.S.C. 3613(c)(2), 42
  28

                         30
                                                                                      COMPLAINT
                                                                                         CASE #
Case 2:25-cv-04807-CAS-MAA         Document 1 Filed 05/28/25    Page 31 of 31 Page ID
                                         #:31


   1
       U.S.C. § 12205, and Cal. Civil Code §§ 52, 54.3;
   2
       G.    Only the named individual Plaintiff seeks treble damages pursuant to Cal.
   3
       Civil Code §§ 52(a) or 54.3(a);
   4
       H.    The named Plaintiffs are seeking perspective injunctive relief to require the
   5
       Defendants to provide obvious reasonable accommodations, to provide the required
   6
       auxiliary aids and to modify Defendants’ procedures, practices, and policies of the
   7
       Defendants in the provision of Defendants’ rental services. Without perspective
   8
       relief the Plaintiffs will suffer future harm.
   9
       I.    All named Plaintiffs seek a Jury Trial and;
  10
       J.    For such other further relief as the court deems proper.
  11

  12   Respectfully submitted:
  13
                                                        LIGHTNING LAW, APC
  14
       Dated: May 28, 2025
  15
                                                By:     /s/David C. Wakefield
  16                                                    DAVID C. WAKEFIELD, ESQ.
  17
                                                        Attorney for Plaintiffs

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                        31
                                                                                COMPLAINT
                                                                                   CASE #
